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       L 1:17-cv-00124-LLS   Document 184 Filed 09/17/21 Page 1 of 1
                                                       •USDC SD?SY
                                                        DOCUM~NT
UNITED STATES DISTRICT COURT
                                                        ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
FEDERAL TRADE COMMISSION, ET AL.,                       DOC #: _ _ _--,---::-/ ~ -
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                             Plaintiffs,

               - against -
                                                  17 Civ. 124          (LLS)
QUINCY BIOSCIENCE HOLDING CO., INC.,
                                                           ORDER
ET. AL.,

                             Defendants.

     As agreed by all parties at the pre-motion conference

before the Court at 2:30 PM on September 17, 2021, the FTC's

claim for monetary relief is dismissed, without prejudice and

with leave to renew and to seek such relief if the applicable

law, as set forth in AMG Capital Mgmt., LLC v. Federal Trade

Commission, 141 S. Ct. 1341 (2021), were to be changed to allow

such a recovery.

Dated:    New York, New York
          September 17, 2021


                                                   L,~        l . 5tMv~
                                                Louis L. Stanton
                                                   U.S.D.J.




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